Case 1:23-cv-00822-ADA Document 27-1 Filed 12/22/22 Page 1 of 3




                               	  
                               	  
                               	  
        Exhibit	  A	  
        Case 1:23-cv-00822-ADA Document 27-1 Filed 12/22/22 Page 2 of 3

                California Secretary of State
                Electronic Filing


Corporation - Statement of Information
                            Entity Name:          ACQIS TECHNOLOGY, INC.



                     Entity (File) Number:        C3441799
                                     File Date:   12/08/2021
                                  Entity Type:    Corporation
                                  Jurisdiction:   DELAWARE
                              Document ID:        H016582

Detailed Filing Information

1. Entity Name:                                        ACQIS TECHNOLOGY, INC.


2. Business Addresses:
    a. Street Address of Principal
       Office in California:




    b. Mailing Address:                                1503 Grant Road Suite 100
                                                       Mountain View, California 94040
                                                       United States of America

    c. Street Address of Principal
       Executive Office:                               1503 Grant Road Suite 100
                                                       Mountain View, California 94040
                                                                                                  Document ID: H016582

                                                       United States of America
3. Officers:

    a. Chief Executive Officer:
                                                       William Chu
                                                       1503 Grant Road Suite 100
                                                       Mountain View, California 94040
                                                       United States of America
    b. Secretary:
                                                       William Chu
                                                       1503 Grant Road Suite 100
                                                       Mountain View, California 94040
                                                       United States of America
          Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
          Case 1:23-cv-00822-ADA Document 27-1 Filed 12/22/22 Page 3 of 3

                 California Secretary of State
                 Electronic Filing


Officers (cont'd):
    c. Chief Financial Officer:
                                                         William Chu
                                                         1503 Grant Road Suite 100
                                                         Mountain View, California 94040
                                                         United States of America

4. Director:                                             Not Applicable



    Number of Vacancies on the Board of
    Directors:                                           Not Applicable

5. Agent for Service of Process:
                                                         William Chu
                                                         1503 Grant Road Suite 100
                                                         Mountain View, California 94040
                                                         United States of America
6. Type of Business:                                     Intellectual property licensing




    By signing this document, I certify that the information is true and correct and that I am authorized by
    California law to sign.




    Electronic Signature:   William Chu

                                                                                                               Document ID: H016582

            Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
